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                    Case 7:20-cv-46643-MCR-GRJ Document 6 Filed 05/10/21 Page 1 of 4




                                       UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF
                                        FLORIDA PENSACOLA DIVISION

              IN RE: 3M COMBAT ARMS        )                     Case No. 3:19-md-2885-MCR-GRJ
              EARPLUG PRODUCTS LIABILITY   )
              LITIGATION                   )                     Judge M. Casey Rodgers
                                           )                     Magistrate Judge Gary R. Jones
              THIS DOCUMENT RELATES TO: )
                                           )
              Edwidge Adhemar              )
              Civil Case No. 7:20-cv-46643 )


                NOTICE OF APPEARANCE AND MOTION FOR SUBSTITUTION OF
                                COUNSEL BY CONSENT

                    Roger Turk of THOMAS J. HENRY INJURY ATTORNEYS hereby enters his

           appearance in this case pursuant to Pretrial Order No. 3 [ECF No. 4]. Mr. Turk is

           counsel of record in individual cases directly filed into the MDL. Mr. Turk has

           completed the administrative requirements outlined in Pretrial Order No. 3 [ECF No.

           4], and has been admitted pro hac vice pursuant to paragraph IV.A of Pretrial Order

           No. 3.

                    This Motion for Substitution of Counsel is made with both Plaintiff Edwidge

           Adhemar and Plaintiff Counsel of Record, Jason W. Earley’s knowledge and consent.

           Please terminate Jason W Earley’s appearance and substitute Roger Turk in place of

           Mr. Earley as counsel for Plaintiff. Mr. Turk requests all further papers and pleadings

           in this case be served upon him as listed in the signature block below.


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DocuSign Envelope ID: 5E151F3B-AAB6-41A2-B28F-A8909CA30B59
                    Case 7:20-cv-46643-MCR-GRJ Document 6 Filed 05/10/21 Page 2 of 4



           Dated: May 10, 2021                               Respectfully submitted,


                                                             /s/ Roger Turk
                                                             Roger Turk
                                                             Thomas J. Henry Injury Attorneys
                                                             521 Starr St
                                                             Corpus Christi, TX 78401
                                                             Telephone: (361) 985-0600
                                                             Fax: (361) 985-0601
                                                             rlt.3m@tjhlaw.com

                                                             Counsel for Plaintiff



                                                             _________________________________
                                                             Edwidge Adhemar
                                                             Plaintiff




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DocuSign Envelope ID: 5E151F3B-AAB6-41A2-B28F-A8909CA30B59
                    Case 7:20-cv-46643-MCR-GRJ Document 6 Filed 05/10/21 Page 3 of 4



                                       UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF
                                        FLORIDA PENSACOLA DIVISION

              IN RE: 3M COMBAT ARMS        )                     Case No. 3:19-md-2885-MCR-
              GRJ EARPLUG PRODUCTS LIABILITY                     )
              LITIGATION                   )                     Judge M. Casey Rodgers
                                           )                     Magistrate Judge Gary R. Jones
              THIS DOCUMENT RELATES TO: )
                                           )
              Edwidge Adhemar              )
              Civil Case No. 7:20-cv-46643 )

                                   PROPOSED ORDER TO SUBSTITUTE COUNSEL

                    The Court hereby orders that the request of Plaintiff Edwidge Adhemar to

           substitute Retained Counsel, Roger Turk TX Bar No. 00788561, of Thomas J. Henry

           Injury Attorneys, 521 Starr Street, Corpus Christi, TX 78401, phone: (361) 985-0600,

           fax: (361) 985-0601, email: rlt.3m@tjhlaw.com as attorney of record instead of Jason

           W. Earley of Hare, Wynn, Newell & Newton, LLP is Hereby approved and

           ORDERED.




                    DATE:__________________                          ___________________________

                                                                                 Judge




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DocuSign Envelope ID: 5E151F3B-AAB6-41A2-B28F-A8909CA30B59
                    Case 7:20-cv-46643-MCR-GRJ Document 6 Filed 05/10/21 Page 4 of 4



                                             CERTIFICATE OF SERVICE


                    In compliance with L.R. 5.1(f), the undersigned hereby certifies that a true and

           correct copy of the foregoing was filed with the Clerk of Court using the CM/ECF

           electronic filing system which will provide electronic notice of same to all counsel of

           record.



           Dated: May 10, 2021                               Respectfully submitted,


                                                             /s/ Roger Turk
                                                             Roger Turk
                                                             Thomas J. Henry Injury Attorneys
                                                             521 Starr St
                                                             Corpus Christi, TX 78401
                                                             Telephone: (361) 985-0600
                                                             rlt.3m@tjhlaw.com




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